                                                                      (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5      ATTORNEYS FOR Defendant,
                         JUANITA MUNOZ
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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
                                                 ********
10
      UNITED STATES OF AMERICA,                          Case No.:       1:09-CR-076 AWI
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                     Plaintiff,
12
                                                               STIPULATION TO CONTINUE
13           vs.                                                      SENTENCING
                                                                         AND
14                                                                [PROPOSED] O R D E R
      JUANITA MUNOZ, et al.,
15
                     Defendants.
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     TO:    THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S OFFICE
18          and/or ITS REPRESENTATIVES:
19          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20   clients that the Sentencing hearing currently on calendar for June 4, 2012, at 9:00 a.m., be continued
21   to July 9, 2012, at 9:00 a.m., or as soon thereafter as is convenient to the court’s calendar.
22          IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
23   objections to the Pre-Sentence Investigation Report be scheduled as follows:
24                   Informal Objections to be served on or before June 15, 2012
25                   Formal Objections to be filed on or before July 2, 2012
26          This continuance is requested by counsel for Defendant, JUANITA MUNOZ, due to the fact
27   that counsel needs additional time to file informal objections to the Probation Report. Defendant
28   provided counsel with new information, which was received by counsel on May 9, 2012, by mail,
     that she would like included in the presentence investigation report. Due to receiving new
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 1   information from Defendant, Counsel may need to meet with Defendant, who is housed in Lerdo,
 2   prior to filing their informal objections. Additionally, Counsel for Defendant will be out of the
 3   office on May 10, 2012, and May 11, 2012.
 4          Counsel for Defendant has spoken with Assistant U. S. Attorney, MARK CULLERS, who
 5   has no objection to this continuance.
 6   Dated: May 10, 2012.                    Respectfully Submitted,
 7                                           NUTTALL COLEMAN & WILSON
 8                                           /s/ MARK W. COLEMAN
 9
                                             MARK W. COLEMAN
10                                           Attorney for Defendant,
                                             JUANITA MUNOZ
11
     Dated: May 10, 2012.                    LAW OFFICE OF JON K. RENGE
12
13                                           /s/ JON K. RENGE
14                                           JON K. RENGE,
                                             Attorney for Defendant,
15                                           Monique Anaya
16   Dated: May 10, 2012.                    UNITED STATES ATTORNEY’S OFFICE
17                                           /S/ MARK CULLERS
18
                                             MARK CULLERS
19                                           Assistant U.S. Attorney
20
                                                 *******
21
                                                  ORDER
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     IT IS SO ORDERED.
24
25   Dated:            May 10, 2012
     0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
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